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            EXHIBIT A
                   Case 1:22-cv-02235-JEB Document 31-1 Filed 03/28/23 Page 2 of 2


Casale, David A.

From:                              Casale, David A.
Sent:                              Wednesday, January 11, 2023 1:36 PM
To:                                'Na'eem Omar Betz'
Cc:                                Quist, Mark D.; Lauritzen, Sherri L.
Subject:                           RE: LOCAL RULE 7(m) CERTIFICATION DUTY TO CONFER ON NONDISPOSITIVE
                                   MOTIONS_REQUESTING YOUR CONSENT OR OBJECTION_ TO THE PROPOSED
                                   CONSENT MOTION FOR LEAVE TO FILE A SECOND AMENDED COMPLAINT


Mr. Betz –

I’ve had an opportunity to discuss with my client.

Your prior amendment substantially changed the substance of your pleading, forcing us to expend a lot of time and
resources to analyze and respond. We want to be accommodating because you’re a pro se plaintiff, but it costs
substantial time and money to respond each time. We’re open to consenting to your motion this time, but if this
happens again (i.e. a third amended complaint), we will likely be objecting.

Thanks,
Dave

David Casale
Senior Staff Attorney

dcasale@reedsmith.com
+1 412 288 5937

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F: +1 412 288 3063
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From: Na'eem Omar Betz <nobetzo@gmail.com>
Sent: Tuesday, January 10, 2023 10:19 AM
To: Casale, David A. <DCasale@reedsmith.com>
Cc: Quist, Mark D. <MQuist@reedsmith.com>; Lauritzen, Sherri L. <SLauritzen@ReedSmith.com>
Subject: Re: LOCAL RULE 7(m) CERTIFICATION DUTY TO CONFER ON NONDISPOSITIVE MOTIONS_REQUESTING YOUR
CONSENT OR OBJECTION_ TO THE PROPOSED CONSENT MOTION FOR LEAVE TO FILE A SECOND AMENDED COMPLAINT

EXTERNAL E-MAIL - From nobetzo@gmail.com

D.C. LAWYER’S RULES OF PROFESSIONAL CONDUCT:

Rule 3.2--Expediting Litigation

Rule 3.4--Fairness to Opposing Party and Counsel


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